        Case 2:17-cv-11886-JTM-MBN Document 1 Filed 11/06/17 Page 1 of 5



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N”(5)
                                                               :   JUDGE ENGELHARDT
                                                               :   MAG. JUDGE NORTH
CHERYLLYN D. SMITH                                    ,        :
                                                               :   COMPLANT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :   Civil Action No.:
vs.                                                            :
                                                               :
                                                               :
Hospira, Inc. and Hospira Worldwide, LLC f/k/a :
Hospira Worldwide, Inc.                               ,        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                              AMENDED SHORT FORM COMPLAINT

        Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury

Demand filed in the above-referenced case on March 31, 2017. Pursuant to Pretrial Order No. 15,

this Amended Short Form Complaint adopts allegations and encompasses claims as set forth in the

Amended Master Long Form Complaint against Defendant(s).

        Plaintiff(s) further allege as follows:

 1.         Plaintiff:

            Cheryllyn D. Smith

 2.         Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

            of consortium):

            N/A




                                                         1
     Case 2:17-cv-11886-JTM-MBN Document 1 Filed 11/06/17 Page 2 of 5



3.     Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

       conservator):

       N/A

4.     Current State of Residence:     Mississippi

5.     State in which Plaintiff(s) allege(s) injury:   Mississippi

6.     Defendants (check all Defendants against whom a Complaint is made):

       a.     Taxotere Brand Name Defendants

                       A.     Sanofi S.A.

                       B.     Aventis Pharma S.A.

                       C.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                       D.     Sanofi-Aventis U.S. LLC

       b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                       A.     Sandoz Inc.

                       B.     Accord Healthcare, Inc.

                       C.     McKesson Corporation d/b/a McKesson Packaging

                       D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                       E.     Hospira, Inc.

                       F.     Sun Pharma Global FZE

                       G.     Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                              Laboratories Ltd.
                       H.     Pfizer Inc.

                       I.     Actavis LLC f/k/a Actavis Inc.

                       J.     Actavis Pharma, Inc.




                                              2
     Case 2:17-cv-11886-JTM-MBN Document 1 Filed 11/06/17 Page 3 of 5



                       K.        Other:




7.     Basis for Jurisdiction:

                Diversity of Citizenship

                Other (any additional basis for jurisdiction must be pled in sufficient detail as
                required by the applicable Federal Rules of Civil Procedure):




8.     Venue:

       District Court and Division in which remand and trial is proper and where you might
       have otherwise filed this Short Form Complaint absent the direct filing Order entered by
       this Court:

                                           Southern District of Mississippi, Southern Division
                                           (Gulfport)



9.     Brand Product(s) used by Plaintiff (check applicable):

                A.     Taxotere

                B.     Docefrez

                C.     Docetaxel Injection

                D.     Docetaxel Injection Concentrate

                E.     Unknown

                F.     Other:




                                               3
      Case 2:17-cv-11886-JTM-MBN Document 1 Filed 11/06/17 Page 4 of 5



10.     First date and last date of use (or approximate date range, if specific dates are unknown)
        for Products identified in question 9:


            Approximately November 29, 2012 through January 10, 2013



11.     State in which Product(s) identified in question 9 was/were administered:


            Mississippi




12.         Nature and extent of alleged injury (including duration, approximate
            date of onset (if known), and description of alleged injury):

            Disfiguring permanent Alopecia beginning sometime after treatment
            with Taxotere (Docetaxel) and continuing to present




13.         Counts in Master Complaint brought by Plaintiff(s):

                   Count I – Strict Products Liability - Failure to Warn
                   Count II – Strict Products Liability for Misrepresentation
                   Count III – Negligence
                   Count IV – Negligent Misrepresentation
                   Count V – Fraudulent Misrepresentation
                   Count VI – Fraudulent Concealment
                   Count VII – Fraud and Deceit
                   Count VIII – Breach of Express Warranty (Sanofi Defendants
                   only)

                   Other: Plaintiff(s) may assert the additional theories and/or
                   State Causes of Action against Defendant(s) identified by
                   selecting “Other” and setting forth such claims below. If
                   Plaintiff(s) includes additional theories of recovery, for
                   example, Redhibition under Louisiana law or state consumer
                   protection claims, the specific facts and allegations supporting
                   additional theories must be pleaded by Plaintiff in sufficient
                   detail as required by the applicable Federal Rules of Civil
                   Procedure.


                                              4
      Case 2:17-cv-11886-JTM-MBN Document 1 Filed 11/06/17 Page 5 of 5




Liability Under the Mississippi Products Liability Act; Extreme and Outrageous
Conduct / Intentional Infliction of Emotional Distress – Against All Defendants;
Punitive Damages



(See Exhibit A attached)




14.      Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
         Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                        By: Christopher L. Coffin
                                            Louisiana Bar No. 27902
                                            Nicholas R. Rockforte
                                            Louisiana Bar No. 31305
                                            Jessica A. Perez
                                            Louisiana Bar No. 34024
                                            Pendley, Baudin & Coffin, L.L.P.
                                            1515 Poydras Street, Suite 1400
                                            New Orleans, LA 70112
                                            Tel: (504) 355-0086
                                            Fax: (504) 523-0699
                                            ccoffin@pbclawfirm.com
                                            nrockforte@pbclawfirm.com
                                            jperez@pbclawfirm.com




                                             5
